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              IN THE UNITED STATES DISTRICT COURT FOR
                  THE EASTERN DISTRICT OF VIRGINIA
                         RICHMOND DIVISION

                                       §
JOHN P. FITZGERALD, III,
                                       §
Acting United States Trustee, et al.
                                       §
          Appellants,                  §
                                       §         No. 3:23-cv-00001-MHL
v.
                                       §
ALFRED H. SIEGEL, Trustee of           §
the Circuit City Stores, Inc.          §
Liquidating Trust,                     §
                                       §
          Appellee.
                                       §


 ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT
           FOR THE EASTERN DISTRICT OF VIRGINIA

                 JOINT MOTION TO STAY PROCEEDINGS


TO THE HONORABLE M. HANNAH LAUCK, UNITED STATES DISTRICT

JUDGE:

      Appellants John P. Fitzgerald, III, the Acting United States Trustee for

Region 4 (the “United States Trustee”), the United States Trustee Program, and

Ramona D. Elliott, Acting Director, and Appellee, Alfred H. Siegel, the

Liquidating Trustee of the Circuit City Stores, Inc. Liquidating Trust (“Liquidating

Trustee”), respectfully ask this Court to stay proceedings in this appeal—which

they have jointly certified for direct appeal to the Fourth Circuit—pending a
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decision by the Fourth Circuit either on the merits or refusing to accept a direct

appeal.

             This appeal arises out of the chapter 11 bankruptcy cases filed by

Circuit City Stores, Inc. and certain of its subsidiaries and affiliates (collectively,

“Circuit City”).

             Under sections 589a and 1930(a)(6) of title 28, for every quarter that a

chapter 11 case is open, statutory fees must be deposited into the United States

Trustee System Fund (“Fund”) within the United States Treasury. 28 U.S.C.

§§ 1930(a)(6), 589a. These quarterly fees are calculated on a sliding scale based

on the amount of “disbursements” made during the calendar quarter. 28 U.S.C.

§ 1930(a)(6).

             As part of Circuit City’s plan of reorganization, the bankruptcy court

approved the formation of the Circuit City Stores, Inc. Liquidating Trust and

required that the Liquidating Trustee remit quarterly fees to the Office of the

United States Trustee.

             In 2017, Congress amended the statute to temporarily increase the

quarterly fee payable in the largest chapter 11 cases. The Liquidating Trustee

challenged this fee increase, arguing that (a) the 2017 amendment is

unconstitutional as applied to this case because it violates the Uniformity Clause of

the Constitution, U.S. Const. art. I § 8, cl. 1, as well as the uniformity provision of
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the Bankruptcy Clause of the Constitution, U.S. Const. Art. I, § 8, cl. 4, and (b) the

2017 amendment does not apply to this case because such application would be

unconstitutionally retroactive.

               The bankruptcy court ruled that the 2017 amendment applied to this

case but was unconstitutionally non-uniform and converted Liquidating Trustee’s

motion to an adversary proceeding. In re Circuit City Stores, Inc., 606 B.R. 260

(Bankr. E.D. Va. 2019). Both parties appealed. Under 28 U.S.C. § 158(d), a direct

appeal to the Fourth Circuit was certified.

               After the Fourth Circuit upheld the 2017 amendment, on June 6, 2022,

the Supreme Court held that the 2017 amendment “violated the uniformity

requirement” of the Bankruptcy Clause. Siegel v. Fitzgerald, 142 S. Ct. 1770,

1782-83 (2022). But it remanded to the Fourth Circuit to determine the

appropriate remedy for that lack of uniformity. The Fourth Circuit then remanded

that question to the bankruptcy court.

               While the appeal of the bankruptcy court’s 2019 decision was

pending, the Liquidating Trustee filed a separate adversary complaint against John

P. Fitzgerald, III, Acting United States Trustee for Region Four, the United States

Trustee Program, and Ramona D. Elliott, Acting Director, 1 Adv. No. 19-03091,


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 Ramona D. Elliott, Acting Director, is substituted for defendant Clifford J. White, III, Director,
pursuant to Federal Rule of Bankruptcy Procedure 7025, which incorporates Federal Rule of

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seeking declaratory relief and the return of the amount representing the difference

between the quarterly fees paid by the Trust and the amount that the Trust would

have paid in a bankruptcy administrator district. The bankruptcy court

consolidated the two adversary proceedings under adversary case number 19-

03091.

              On December 15, 2022, the bankruptcy court issued a Memorandum

Opinion and an Order in the consolidated proceedings ruling that the Trustee is

entitled to recover “the amount of the portion of the quarterly U.S. Trustee fees

paid that exceeded the amount the [Trustee] would have had to pay in a bankruptcy

administrator district, inclusive of the first three quarters of calendar year 2018.”

              Appellants filed a notice of appeal on December 26, 2022.

              On February 13, 2023, Appellants and Appellee filed a Certification

to Court of Appeals by All Parties under 28 U.S.C. § 158(d)(2)(A), which governs

appeals from a bankruptcy court order directly to the court of appeals.

              On February 17, 2023, the bankruptcy court entered a judgment in the

amount of $756,844.66. Appellants filed an amended notice of appeal on the same

day to reflect the entry of judgment.




Civil Procedure 25(d), which provides for automatic substitution when a governmental official
ceases to hold office. After the Complaint was filed, Mr. White retired and Ms. Elliott became
Acting Director.
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              On February 17, 2023, the parties filed an Amended Certification to

Court of Appeals by All Parties to reflect the bankruptcy court’s entry of judgment

and the amended notice of appeal.

             A petition for permission to appeal must be filed with the Fourth

Circuit within thirty days after the date the certification for direct appeal becomes

effective. See Fed. R. App. P. 5(a)(2), 6(c); Fed. R. Bankr. P. 8006(g).

             Although the parties have jointly certified this appeal for direct

appeal, the proceedings in this Court are not automatically stayed. See 28 U.S.C.

§ 158(d)(2)(D).

             Thus, absent a stay, two identical appeals will be proceeding

simultaneously in both this Court and in the Fourth Circuit.

             Because this Court’s docket reflects that the record was transmitted on

February 8, 2023, Appellants’ brief is currently due on March 10, 2023. See Fed.

R. Bankr. P. 8018(a)(1).

              A stay is warranted because it would be a waste of this Court’s and

the parties’ time and resources to have the same appeal briefed and argued in both

this Court and the Fourth Circuit at the same time.




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                     CONCLUSION/ RELIEF REQUESTED

      For these reasons, Appellants and Appellee ask this Court to stay this appeal

pending a decision by the Fourth Circuit to either refuse or accept a direct appeal

and, if it accepts a direct appeal, until it renders a decision on the merits.



Dated: February 23, 2023                Respectfully submitted,

ACTING UNITED STATES                    ALFRED H. SIEGEL, SOLELY AS
TRUSTEE                                 TRUSTEE OF THE CIRCUIT CITY
                                        STORES, INC. LIQUIDATING TRUST

/s/ Kathryn R. Montgomery               /s/ Lynn L. Tavenner
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                                        Counsel to Alfred H. Siegel, as Trustee of the
                                        Circuit City Stores, Inc. Liquidating Trust
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Appellants’ Counsel




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                     CERTIFICATE OF COMPLIANCE

      I certify that this motion complies with the type volume limitation of Fed. R.

Bankr. P. 8013(f). This Motion is less than 20 pages, and contains 977 words

excluding those sections that are not counted under Fed. R. Bankr. P. 8015(g).



                                                   /s/ Kathryn R. Montgomery
                                                   Kathryn R. Montgomery




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